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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF LOUISIANA
ALEXANDRIA DIVISION

FRANKLIN GREGORO AYABAR, CIVIL DOCKET NO. 1:20-CV-428-P
Petitioner

VERSUS JUDGE DRELL

JOSEPH D. MCDONALD, £ET7'AL., MAGISTRATE JUDGE PEREZ-MONTES
Respondents

JUDGMENT

For the reasons contained in the Report and Recommendation of the
Magistrate Judge previously filed herein (ECF No. 22), noting the absence of
objections thereto, and concurring with the Magistrate Judge’s findings under the
applicable law;

IT IS ORDERED that the Petition for Writ of Habeas Corpus under 28 U.S.C.
§ 2241 (ECF No. 1) is hereby DISMISSED WITHOUT PREJUDICE for lack of

jurisdiction.

THUS DONE AND SIGNED, at Alexandria, Louisiana, on this .5 “day of

Mt 020.
LSE

DEE D. DRELL
UNITED STATES DISTRICT JUDGE

 
